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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

KATHERINE JETTER, and
KATHERINE JETTER LTD. d/b/a THE
VAULT NANTUCKET,

Plaintiffs,

Vv. Civil Action No.
BOUTIQUE TERE, INC. d/b/a MARISSA
COLLECTIONS, JAY HARTINGTON,
MARISSA HARTINGTON, and

BURT HARTINGTON

Defendants.

AFFIDAVIT OF JAY HARTINGTON IN SUPPORT OF
DEFENDANTS’ NOTICE OF REMOVAL

L, Jay Hartington, depose and state upon personal knowledge the following:

1. I am currently employed as the Chief Executive Officer of Boutique Tere, Inc.
d/b/a Marissa Collections (“Marissa Collections”).

2. I am a resident of and domiciled in the state of Florida. Marissa and Burt
Hartington, my parents, are residents of and domiciled in the state of Florida.

3. Marissa Collections is incorporated under the laws of the state of Florida.

4, Marissa Collections maintains its headquarters at 1167 3rd Street South, Suite
207, Naples, Florida 34102. Marissa Collections’ officers direct, control and coordinate the
corporation’s activities from its corporate headquarters —i.e., its “nerve center” — in Naples,

Florida.

5, Marissa Collections’ principal place of business is located in Naples, Florida.
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Signed under the pains and penalties of perjury this 23" day of May 2024

Vag He Gh

Jay Hartington

